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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEVADA



FEDERAL TRADE COMMISSION                                  Case No. 24-cv-2163-GMN-MDC

   Plaintiff,                                             FTC’S APPLICATION FOR ENTRY
                                                          OF DEFAULT AGAINST
        v.                                                DEFENDANTS SUPERIOR
                                                          SERVICING LLC, SUNRISE
SUPERIOR SERVICING LLC, et al.,                           SOLUTIONS USA LLC, ALUMNI
                                                          ADVANTAGE LLC, STUDENT
   Defendants.                                            PROCESSING CENTER GROUP
                                                          LLC, SPCTWO LLC, AND
                                                          ACCREDIT LLC


TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF
NEVADA:

       Plaintiff, Federal Trade Commission (“FTC”), respectfully requests, pursuant to Federal

Rule of Civil Procedure 55(a), that the Clerk of the Court for the District of Nevada enter default

in this matter against Defendants Superior Servicing LLC, Sunrise Solutions USA LLC, Alumni

Advantage LLC, Student Processing Center Group LLC, SPCTWO LLC, and Accredit LLC. The

facts supporting this application are set forth in the accompanying Declaration of FTC Counsel.

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       On March 26, 2025, the FTC filed its Amended Complaint (ECF No. 57). On April 15,

2025, the FTC served Defendants Superior Servicing LLC, Sunrise Solutions USA LLC, Alumni

Advantage LLC, Student Processing Center Group LLC, SPCTWO LLC, and Accredit LLC

each with a summons and a copy of the Amended Complaint. Each of these Defendants has

failed to plead or otherwise defend in this action, and the deadline to do so has passed.

       Accordingly, the FTC requests that the Clerk of the Court enter default against

Defendants Superior Servicing LLC, Sunrise Solutions USA LLC, Alumni Advantage LLC,

Student Processing Center Group LLC, SPCTWO LLC, and Accredit LLC. A proposed form has

been filed along with this application.



                                                   Respectfully submitted,

Dated: May 8, 2025                                  /s/ Luis H. Gallegos

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                                  CERTIFICATE OF SERVICE

       I, Luis H. Gallegos, hereby certify that I effected service on all parties by electronically

filing the foregoing with the Court using CM/ECF.


Dated: May 8, 2025                                  /s/ Luis H. Gallegos
                                                   LUIS H. GALLEGOS
                                                   Attorney for Plaintiff
                                                   Federal Trade Commission




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